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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA     :
                             :
         v.                  :
                             :                       Case No.: 21-CR-26 (CRC)
CHRISTOPHER MICHAEL ALBERTS, :
                             :
         Defendant.          :                       Filed Electronically


                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney Samuel

S. Dalke is entering his appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,



DATED: March 30, 2022                        MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                      By:    /s/ Samuel S. Dalke
                                             SAMUEL S. DALKE
                                             Assistant United States Attorney
                                             Detailee
                                             U.S. Attorney’s Office for the District of Columbia
                                             Phone: (717) 221-4453
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                               CERTIFICATE OF SERVICE

       On this 30th day of March 2022, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.


                                                    /s/ Samuel S. Dalke
                                                    SAMUEL S. DALKE
                                                    Assistant United States Attorney
